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IN THE UNITED sTATES DISTRICT coURT ”' no
FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIvISION 05 JUL l'* AH"’ 95
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UNITED sTATEs oF AMERICA, &ES%[§§JYHPYN
F »`l l`\`z. l l '(F
vs. No. 04-20035-Ma

ARTHUR MITCHELL ,

Defendant.

 

ORDER GR.ANTING MO'I'ION TO RESE'I‘ TRIAL DATE

 

Before the court is defendant's July 7, 2005, motion
requesting that the trial in this matter be reset to the August
Criminal Rotation Docket. For good cause shown, the motion is
granted. The trial is continued to the rotation calendar
beginning August l, 2005. No further report date Will be held.

The period from July 15, 2005, through August 12, 2005, is
excluded under 18 U.S.C. § 3161(h) (8) (B) (iv) to allow defense counsel
additional time to prepare.

It is so ORDERED this ‘3 ay of July, 2005.

SAMUEL H. M.AYS, JR.
UNITED S'I'ATES DISTRIC'I‘ JUDGE

 

 

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with Rule 55 andlor32fb1 FRCrP on J__Z§pi)»§“

ISTRICT COURT - WEERST DISTRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:04-CR-20035 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

